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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

JODI C. MAHDAVI,

                      Plaintiff,


              v.                                            Civil Action No. 1:14-cv-0648

NEXTGEAR CAPITAL, INC.,

and

P.A.R. SERVICES, INC.

                      Defendants.

                                            ORDER


       Upon consideration of Defendant NextGear’s Capital, Inc.’s Motion for Summary

Judgment (the “Motion”), any opposition and reply, and argument of counsel, it is this _______

day of __________________________, 20___, ORDERED and ADJUDGED that:

       (1)    Defendant NextGear Capital, Inc.’s Motion is GRANTED;

       (2)    Judgment is entered in favor of NextGear Capital on all counts of

              Plaintiff’s complaint.

       (3)    A copy of this Order shall be sent to all counsel of record.



                                                    ______________________________
                                                    Judge, United States District Court
                                                    for the Eastern District of Virginia
